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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 WSOU INVESTMENTS, LLC D/B/A                   §
 BRAZOS LICENSING AND                          §      CIVIL ACTION 6:20-cv-00474-ADA
 DEVELOPMENT,                                  §      CIVIL ACTION 6:20-cv-00478-ADA
           Plaintiff,                          §      CIVIL ACTION 6:20-cv-00479-ADA
                                               §
 v.                                            §
                                               §
 DELL TECHNOLOGIES INC., ET                    §
 AL,                                           §
          Defendants.                          §



                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41, Plaintiff WSOU Investments, LLC d/b/a

Brazos Licensing and Development (“WSOU”) and Defendants Dell Technologies, Inc., Dell Inc.,

and EMC Corporation, (“Defendants”) hereby stipulate that all claims in this action are hereby

dismissed with prejudice. The parties agree that each party shall bear its own costs, expenses, and

attorneys’ fees.

Dated: January 18, 2022                              RESPECTFULLY SUBMITTED,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 18, 2022, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Mark D. Siegmund
                                                        Mark D. Siegmund




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